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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,                    )
                                              )
                Plaintiff,                    )
                                              )
        v.                                    )    CRIMINAL NO. 07-30182-WDS
                                              )
 RANDALL G. BAKER,                            )
                                              )
                Defendant.                    )


                                    MEMORANDUM & ORDER

 STIEHL, District Judge:

        This matter is before the Court on defendant’s motion to suppress (Doc. 33) to which the

 government has filed a response (Doc. 41). The Court held an evidentiary hearing on the motion

 and took the matter under advice pending the filing of post hearing briefs by the parties. They

 have now filed their briefs (Docs. 53 and 54).

                                        BACKGROUND

        The defendant was arrested on October 4, 2007, at the Pilot Truck Stop in Troy, Illinois,

 after cocaine was recovered from a semi-tractor trailer in which Baker was the co-driver. He

 asserts that he was arrested without probable cause and, therefore, any statements he made after

 his arrest should be suppressed.

        At the hearing, the government presented the testimony of Sergeant Greg Hosp,

 Caseyville Police Department, who is assigned to the Drug Enforcement Agency Task Force in

 Fairview Heights. Sgt. Hosp testified that he has been an officer with Caseyville Police

 Department for ten years and is second in command after the Chief of Police. He has been

 assigned to the DEA Task Force for approximately two years, and is on a Hotel/Motel Initiative

 and a Commercial Motor Vehicle Interdiction Unit. In addition, his duties involve assisting in
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 surveillance operations, interviewing witnesses and other duties. He stated that he was involved

 in truck interdiction on October 4, 2007, in Troy, Illinois, at approximately 8:00 a.m. and

 observed a truck in which the defendant was located. He noted that the Department of

 Transportation number was a high number, indicating a newer company. In light of the fact that

 gas prices are higher and newer companies have a harder time getting started, there is a greater

 likelihood that newer companies may be involved in narcotics trafficking. They approached the

 passenger’s side of the semi which was occupied by a Mr. Tilden Crase and asked to speak to

 him. He was cooperative and agreed to talk to them. He said that they had a produce load in the

 truck, divided into four separate loads. The loads originated from Hidalgo, Mission, and

 Brownsville, Texas. Sgt. Hosp noted that these places are close to the Texas/Mexico border

 which is where narcotics enter the country. Sgt. Hosp asked Crase for the bills of lading for the

 loads, and he was able to only produce one bill of lading. He did not hand it over, but held it out

 at a slight distance. In light of the fact that there were supposedly four loads on the truck, Sgt.

 Hosp stated that there should have been four bills of lading.

        Sgt. Hosp asked Crase where the loads were going, and Crase was only able to answer

 “East,” without specific destinations. Crase was, by this time, acting nervous, and glanced back

 towards the sleeper area of the truck. At that time, Task Force Officer Eric Buck advised Sgt.

 Hosp that there was a padlock on the back of the truck, which is not unusual, but that the seal

 that was there had been broken, which is unusual. Usually the seal number is placed on the bill

 of lading once the load is placed on the truck. That way the receiver can check the bill of lading

 and the seal to insure that the load has not been tampered with.

        Because Crase kept looking back to the sleeper area, Sgt. Hosp asked if there was anyone

 there. Crase identified his co-driver was there. At that point, Sgt. Hosp asked if they could


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 search the truck, and Crase reached into a pocketed area above his head and removed a set of

 keys. He said, “Sure,” and got out, and walked them to the back of the truck. Crase fumbled

 with the keys and was unable to unlock the padlock, and said that he believed his co-driver had

 the keys. This was another incongruity because in the trucking industry, a co-driver is there to

 keep the truck moving. If the truck is stopped, it is not making any money, and both drivers are

 responsible for the load. They returned to the cab of the truck and Crase woke up the defendant.

 Baker stuck his head out of the sleeper portion of the cab and Sgt. Hosp stated that it was

 obvious that he had not been sleeping. Crase handed Baker a set of keys, Baker put on a shirt

 and came out of the cab and took the large key ring Crase had given him, walked to the back of

 the trailer, and opened the trailer.

         The trailer had several bean totes, large Tupperware-type of totes, which were in the back

 with duct tape around the outside of them. There were no other loads of produce or anything in

 the trailer. TFO Buck entered the back of the trailer, opened the totes and said that there was

 illegal narcotics in the totes. At that point, TFO Buck made a signal by putting his hands

 together, indicating that the defendant should be secured. Sgt. Hosp then went into the trailer

 and cut open one of the bags which contained a white powdery substance, which he believed was

 cocaine. At that point, the defendant was placed into handcuffs and taken under arrest. Baker

 was given his Miranda warnings and admitted his involvement in the transporting of narcotics.

         Sgt. Hosp did not ask Crase for his identity, nor for the registration on the truck before

 arresting the defendant, Baker. At some point during these proceedings, Crase fled from the area

 on foot and escaped at that time. Crase has been indicted in this case along with defendant

 Miguel Mariscal, Jr. The defendants are charged by the grand jury in a two count indictment.

 Count 1 charges all defendants with conspiracy to knowingly and intentionally distribute and


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 possess with intent to distribute marijuana and cocaine, in violation of 21 U.S.C.

 §§ 841(b)(1)(A)(ii) and § 846. Count 2 charges all defendants with possession with intent to

 distribute cocaine in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.

                                            DISCUSSION

        The defendant asserts that he is not contesting the lawfulness of the search, and, for

 purposes of the motion to suppress, that Crase consented to the search of his truck. He asserts,

 however, that his arrest was without probable cause, and without a warrant. The defendant

 further claims that because Sgt. Hosp did not know who owned the trailer, did not know the

 relationship between Baker and Crase, other than that Crase had identified Baker as his “co-

 driver,” and that Crase presented the keys to Baker to open the trailer. The defendant asserts that

 without a warrant, the arrest of Baker was without probable cause in these circumstances.

        1.      Probable Cause to Arrest the Defendant

        “Probable cause is a commonsense, nontechnical conception that deals with ‘the factual

 and practical considerations of everyday life on which reasonable and prudent men, not legal

 technicians, act.’” United States v. Hobbs, 503 F.3d 353, 359 (7th Cir. 2007), (quoting Ornelas v.

 United States, 517 U.S. 690, 695 (1996));Illinois v. Gates, 462 U.S. 213, 231(1983).

        The defendant asserts that the officers did not have enough information, at the time of his

 arrest, to amount to probable cause particularized to the defendant. The Supreme Court held in

 Ybarra v. Illinois, 444 U.S. 85, 91 (1979) that “a person's mere propinquity to others

 independently suspected of criminal activity does not, without more, give rise to probable cause

 to search that person.” (Citing Sibron v. New York, 392 U.S. 40, 62-63 (1968)).

        In this case, the Court FINDS that the officers had probable cause to arrest Baker. Baker

 was in the cab of the trailer in which the drugs were located at the time that the officers started


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 questioning Crase; he had been identified by Crase as the “co-driver” of that tractor-trailer; and,

 importantly, Baker was able to easily locate the correct key to open the trailer padlock. Once the

 drugs were located in the back of the trailer, the officers had more than sufficient probable cause

 to arrest Baker. All of these things are particularized to Baker, and gave the officers probable

 cause to believe that he was engaged in illegal narcotics trafficking.

        2.      Admission of the Defendant’s Confession

        The defendant also asserts that his confession should be suppressed because it was the

 fruit of the poisonous tree. In light of the Court’s finding that the defendant’s arrest was based

 on probable cause, the Court must reject this contention. To the extent that the defendant asserts

 that his confession was, in any manner, involuntary, the Court also rejects that assertion.

        The Seventh Circuit has held that “[a] confession is voluntary if, in the totality of

 circumstances, it is the ‘product of a rational intellect and free will and not the result of physical

 abuse, psychological intimidation, or deceptive interrogation tactics that have overcome the

 defendant's free will.’” United States v. Huerta, 239 F.3d 865, 871 (7th Cir. 2001) (quoting

 United States v. Dillon, 150 F.3d 754, 757 (7th Cir.1998)); See also, United States v. Gillaum,

 372 F.3d 848, 856 (7th Cir. 2004). “[C]oercive police activity is a ‘necessary predicate to the

 finding that a confession is not “voluntary” within the meaning of the Due Process Clause of the

 Fourteenth Amendment.’” Huerta, 239 F.3d at 871 (quoting Colorado v. Connelly, 479 U.S. 157,

 167 (1986)). Factors relevant to a determination that police conduct is coercive include “the

 defendant's age, education, intelligence level, and mental state; the length of the defendant's

 detention; the nature of the interrogations; the inclusion of advice about constitutional rights; and

 the use of physical punishment, including deprivation of food or sleep.” Id. Here, the

 defendant’s assertions of involuntariness are based upon his belief that the arrest was invalid.


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 There is nothing in the record to show that the defendant’s confession was based upon any

 coercion, or anything else which would render it involuntary.

                                         CONCLUSION

        Accordingly, the Court DENIES defendant’s motion to suppress on all grounds asserted.

        IT IS SO ORDERED.

        DATED: June 11, 2008.



                                           s/ WILLIAM D. STIEHL
                                                DISTRICT JUDGE




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